                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________

JUSTIN BLAKE,

                     Plaintiff,
                                                      Case No. 22-cv-970
      v.

DAVID BETH, et al.,

                Defendants.
______________________________________________________________________

                            AMENDED SCHEDULING ORDER


      Upon the stipulation by and between the Plaintiff Justin Blake, through counsel,

Attorney Kimberley Cy. Motley; Defendant Officers, County of Kenosha, and Wisconsin

County Mutual Insurance, through counsel, Attorney Samuel C. Hall; and Defendants

Jessica Bergmann, VNCC, and KVNA through counsel, Attorney Brian Baird the court

hereby amends the current scheduling Order (DKT #19) and amends it as follows:

      The plaintiff shall disclose expert witnesses by March 1, 2024.

      The defendants shall disclose expert witnesses May 31, 2024.

      The parties shall complete discovery by August 2, 2024

      All dispositive motions shall be due by August 2, 2024.

      Dated: September this 26th day of 2023

                                  BY THE COURT:


                                  __________________________________________
                                  Honorable Pamela Pepper
                                  U.S. District Court Chief Judge




           Case 2:22-cv-00970-PP Filed 09/26/23 Page 1 of 1 Document 39-1
